                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA : . ,-,

        versus : CRIMINAL NO. 24-86^01^-EWD

JAMES S. BURLAND :



                                      PLEA AGREEMENT

        The United States Attorney's Office for the Middle District of Louisiana (the "United

States") and James S. Burland (the "defendant") hereby enter into the following plea agreement


pursuant to Fed. R. Crim. P. 11(c).


A. DEFENDANT'S OBLIGATIONS

        1. Guilty Plea


       Defendant agrees to enter a plea of guilty to a Bill of Information charging him with

Possession of Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B).

       2. Financial Information


       Defendant agrees to fully and truthfully complete the financial statement provided to him


by the United States and to return the financial statement to the United States within ten days of


this agreement being filed with the Court. Further, defendant agrees to provide the United States


with any information or documentation in his possession regarding his financial affairs and to


submit to a debtor's examination upon request. Any financial information provided by defendant


may be used by the United States to collect any financial obligations imposed in this prosecution


and may be considered by the Court in imposing sentence.




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       3. Sex Offender Registration Requirements

       Defendant understands that by pleading guilty to Possession of Child Pornography as

charged in the Bill of Information, he will be required to register as a sex offender upon his release

from prison as a condition of supervised release pursuant to 18 U.S.C. § 3583(d). Defendant also


understands that, independent of supervised release, he will be subject to federal and state sex

offender registration requirements, and that those requirements may apply throughout his life.

Defendant understands that he shall keep his registration current, shall notify the state sex offender

registration agency or agencies of any changes to defendant's name, place of residence,


employment, student status, or other relevant information. Defendant shall comply with

requirements to periodically verify in person his sex offender registration information. Defendant

understands that he will be subject to possible federal and state penalties for failure to comply with

any such sex offender registration requirements. If defendant resides in Louisiana following

release from prison, he will be subject to the registration requirements of the State of Louisiana.

Defendant further understands that, under 18 U.S.C. § 4042(c), notice will be provided to certain

law enforcement agencies upon his release from confinement following conviction.


       As a condition of supervised release, defendant shall initially register with the state sex

offender registration in Louisiana, and shall also register with the state sex offender registration

agency in any state where defendant resides, is employed, works, or is a student, as directed by the

Probation Officer. Defendant shall comply with all requirements of federal and state sex offender

registration laws, including the requirement to update his registration information. Defendant shall

provide proof of registration to the Probation Officer within 72 hours of release from

imprisonment.




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        4. Waiver of Indictment

        Defendant agrees to waive indictment in open court at arraignment.


B. UNITED STATES' OBLIGATIONS

        1. Non-prosecution of Charges


        The United States agrees that, if the Court accepts defendant's guilty plea, it will not

prosecute defendant for any offense related to the offense charged in the Bill of Information.

        2. Mo^n^^^^^^^^ Third Point for Acceptance of Responsibilitv


        The United States acknowledges that defendant has assisted authorities in the investigation

or prosecution of defendant's own misconduct by timely notifying authorities of his intention to

enter a plea of guilty, thereby permitting the United States to avoid preparing for trial and

permitting the United States and the Court to allocate their resources efficiently. The United States

therefore agrees that, if the Court finds that defendant qualifies for a two-level decrease in offense

level for acceptance of responsibility under USSG § 3E 1.1 (a) and, prior to the operation ofUSSG

§ 3El.l(a), defendant's offense level is 16 or greater, the United States will move the Court

pursuant to USSG § 3El.l(b) to decrease defendant's offense level by one additional level. The

United States reserves the right to object to a decrease in offense level for acceptance of

responsibility based on information received by the United States after the effective date of this

agreement, including information that defendant failed to timely submit the financial statement

required by Section A(2) of this agreement.

C. SENTENCING

        1. Maximum Statutory Penalties

        The maximum possible penalty is a mandatory term of imprisonment of not more than 20

years, a fine of $250,000, and a term of supervised release of not less than five years and up to life.




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        In addition to the above, the Court must impose a special assessment of $100, which is due

at the time of sentencing. The Court may also enter an additional order of special assessment of

not more than $17,000. See 18 U.S.C. § 2259A(a)(l). Furthermore, unless the Court determines

that defendant is indigent, defendant must pay an additional mandatory special assessment of

$5,000. The Court must also order restitution.

       2. Supervised Release


       Supervised release is a period following release from imprisonment during which

defendant's conduct is monitored by the Court and the United States Probation Office and during

which defendant must comply with certain conditions. Supervised release is imposed in addition

to a sentence of imprisonment, and a violation of the conditions of supervised release can subject

defendant to imprisonment over and above any period of imprisonment initially ordered by the

Court for a term of up to two years, without credit for any time already served on the term of

supervised release.


       3. SentencinsLGuidelmes

       The Court will determine in its sole discretion what defendant's sentence will be. While

the Court must consider the United States Sentencing Guidelines in imposing sentence, the

Sentencing Guidelines are not binding on the Court. The Court could impose any sentence up to

the maximum possible penalty as set out above despite any lesser or greater sentencing range

provided for by the Sentencing Guidelines.

       4. No Agreement Regarding Sentencing

       Except as set forth in this agreement and the supplement to the plea agreement, the United

States makes no promises, representations, or agreements regarding sentencing. In particular, the


United States reserves the right to present any evidence and information, and to make any argument

to the Court and the United States Probation Office regarding sentencing.


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        5. Agreement Regarding Restitution

        Defendant and the United States agree, pursuant to 18 U.S.C. § 3663(a)(3), that the Court

shall not be limited to the count of conviction for purposes of ordering restitution. Specifically, as

a condition of this plea agreement, defendant agrees that the Court can order full restitution to any

victims identified by the United States Probation Office and determined by the Court to be victims,

for the entirety of defendant's conduct, as described in the Bill of Information and the factual basis

(below), even if such losses resulted from crimes not charged or admitted by defendant in the

factual basis. Defendant agrees and understands that the Court can order restitution to all such

victims in an amount to be determined by the Court at or prior to sentencing. Defendant will not

oppose court-ordered restitution that is imposed at sentencing.

        6. Forfeityre


        Defendant admits that he owns the property identified in the Notice of Forfeiture in the Bill

of Information and that such property was used to commit the offense charged or to facilitate the

offense charged. He therefore agrees to forfeit his interest in such property and consents to the

entry of orders of forfeiture for such property.

       Defendant understands that forfeiture of his property will not be treated as satisfaction of

any fine, restitution, cost of imprisonment, or other penalty which may be imposed upon him as

part of his sentence. Defendant further understands that, separate and apart from his sentence in

this case, the United States may also institute civil or administrative forfeiture proceedings of any

property, real or personal, which is subject to forfeiture. Defendant agrees to waive his interest in

the property identified in the Notice of Forfeiture in the Bill of Information in any such civil or


administrative forfeiture proceeding.




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       Defendant agrees to fully and truthfully disclose the existence, nature, and location of all

assets and to fully and completely assist the United States in the recovery and forfeiture of all

forfeitable assets, including taking all steps as requested by the United States to pass clear title to

forfeitable assets to the United States. Defendant agrees to hold the United States, its agents, and


its employees harmless from any claims whatsoever in connection with the seizure or forfeiture of

property pursuant to the Court's forfeiture orders.

       Defendant hereby waives the following: (1) all statutory and constitutional defenses to the

forfeiture, including any claim that the forfeiture constitutes an excessive fine or punishment; (2)

any failure by the Court to ensure at sentencing that defendant is aware of the forfeiture or to

incorporate the forfeiture in the judgment as required by Fed. R. Crim. P. 32.2(b)(4)(B); and (3)

any failure by the Court to inform defendant of, and determine that defendant understands, the

applicable forfeiture prior to accepting defendant's plea.

D. FACTUAL BASIS

       The United States and defendant stipulate to the following facts:

               Between on or about November 11,2022,and on or about April 9, 2024, in
       the Middle District of Louisiana and elsewhere, James S. Burland, the defendant
       herein, did knowingly possess files containing images of child pornography, as
       defined in Title 18, United States Code, Section 2256, that involved prepubescent
       minors and minors who had not attained 12 years of age. The files with the images
       of child pornography were transported in interstate and foreign commerce by
       various means, including by computer.


              Specifically, between on or about November 11,2022, and on or about April
       9, 2024, defendant was a resident of Baton Rouge, Louisiana. During that time,
       defendant had internet service and an account with an internet-based cloud storage
       provider. On November 11 , 2022, while in Baton Rouge, Louisiana, defendant
       uploaded one file containing an image of child pornography, as defined in Title 18,
       United States Code, Section 2256, to his internet-based cloud storage account.
       Between November 11, 2022, and April 9, 2024, law-enforcement obtained
       evidence that defendant possessed another 173 files with images containing child
       pornography, as described above, in his internet-based cloud storage account, and
       possessed additional images of child pornography, as defined above, on defendant's
       personal computers and storage devices that he maintained in his residence and


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       professional office, with both located in Baton Rouge, Louisiana. In total, defendant
       knowingly possessed a minimum of 150 files knowing that they contained images
       of child pornography, to include images depicting prepubescent minors and minors
       who had not attained 12 years of age. Defendant knowingly obtained and possessed
       all files containing images of child pornography by downloading them from the
       internet using his personal computer, with every file having been shipped and
       transported in and affecting interstate commerce.

       Defendant admits that, to the best of his knowledge and belief, the stipulated statement of

facts is true and correct in all respects. The United States and defendant agree that, had this matter

gone to trial, the United States could have proved such facts. The United States and defendant

further agree that such facts are sufficient to support a conviction of the offense to which defendant

has agreed to plead guilty. Defendant understands that, by the terms ofUSSG § 6B 1.4, the Court

is not limited by the stipulated facts for purposes of sentencing. Rather, in determining the factual

basis for the sentence, the Court will consider the stipulation, together with the results of the

presentence investigation and any other relevant information.


E. BREACH AND ITS CONSEQUENCES

       1. Conduct Constituting Breach

       Any of the following actions by defendant constitute a material breach of this agreement:

               a. failing to plead guilty to the Bill of Information at arraignment;

               b. representing, directly or through counsel, to the United States or the Court
                       that he will not plead guilty to the Bill of Information;

               c. moving to withdraw his guilty plea;

               d. filing an appeal or instituting other post-conviction proceedings not
                       authorized in Section F(2);

               e. disputing or denying guilt of the offense to which defendant has agreed to
                      plead guilty or denying or disputing any fact contained in the stipulated
                      factual basis;


               f. failing or refusing to waive indictment in open court at arraignment;




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                g. concealing or disposing of assets with the specific intent of shielding such
                       assets from forfeiture;

                h. providing false, misleading, or incomplete information or
                      testimony, including financial information and testimony provided
                      pursuant to Section A(2), to the United States; or

                i. violating the terms of this agreement or the supplement to the plea
                       agreement in any other manner.


        2. Consequences of Breach


        In the event of a breach by defendant, the United States is relieved of its obligations under


the agreement and the supplement to the plea agreement. In particular, the United States may

prosecute defendant for any criminal offense. In addition, any statements and information provided

by defendant pursuant to this agreement (or the supplement to the plea agreement) or otherwise,

and any information and evidence derived therefrom, may be used against defendant in this or any

other prosecution or proceeding without limitation. Such statements and information include, but

are not limited to, the plea agreement itself (including the factual basis contained in Section D),

the supplement to the plea agreement, statements made to law enforcement agents or prosecutors,


testimony before a grand jury or other tribunal, statements made pursuant to a proffer agreement,

statements made in the course of any proceedings under Rule 11, Fed. R. Crim. P. (including

defendant's entry of the guilty plea), and statements made in the course of plea discussions.

Defendant expressly and voluntarily waives the protection afforded by Fed. R. Evid. 410 as to any

statements made by him personally (but not as to statements made by his counsel). Defendant is

not entitled to withdraw his guilty plea.

       3. Procedure for Establishine Breach

       The United States will provide written notice to defendant or his attorney if it intends to be


relieved of its obligations under the agreement and the supplement to the plea agreement as a result

of a breach by defendant. After providing such notice, the United States may institute or proceed


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with any charges against defendant prior to any judicial determination regarding breach. However,

the United States will obtain a judicial determination regarding breach prior to using statements

and information provided by defendant or any act of producing documents or items by defendant


pursuant to this agreement or the supplement to the plea agreement, or any evidence or information

derived therefrom, in its case-in-chief in a criminal trial or in sentencing defendant in this case.

The standard of proof in any proceeding to determine whether the plea agreement or the

supplement to the plea agreement has been breached is preponderance of the evidence. To prove

a breach, the United States may use (1) any and all statements of defendant, (2) any and all

statements of his counsel to the Court (including the United States Probation Office), and (3) any

representation by defense counsel to the United States that defendant will not plead guilty.

F. WAIVERS BY DEFENDANT

         1. Waiver of Trial Rights

         By pleading guilty, defendant waives the right to plead not guilty or to persist in a not guilty

plea and waives the right to a jury trial. At a trial, defendant would have the trial rights to be

represented by counsel (and if necessary have the Court appoint counsel), to confront and examine

adverse witnesses, to be protected against compelled self-incrimination, to testify and present

evidence, to compel the attendance of witnesses, and to have the jury instructed that defendant is

presumed innocent and the burden is on the United States to prove defendant's guilt beyond a

reasonable doubt. By waiving his right to a trial and pleading guilty, defendant is waiving these

trial rights.

         2. Waiver^f Appeal and Collateral Remedies

         Except as otherwise provided in this section, defendant hereby expressly waives the right

to appeal his conviction and sentence, including any appeal right conferred by 28 U.S.C. § 1291

and 18 U.S.C. § 3742, and to challenge the conviction and sentence in any post-conviction


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proceeding, including a proceeding under 28 U.S.C. § 2241, 28 U.S.C. § 2255, or 18 U.S.C. §

3582(c)(2). This waiver applies to any challenge on appeal or in any post-conviction proceeding

to any aspect of defendant's sentence, including imprisonment, fine, special assessment,


restitution, forfeiture or the length and conditions of supervised release or probation. Defendant,

however, reserves the right to appeal the following: (a) any sentence which is in excess of the

statutory maximum; (b) any sentence which is an upward departure pursuant to the Sentencing

Guidelines; and (c) any non-Guidelines sentence or "variance" which is above the guidelines range

calculated by the Court. Notwithstanding this waiver of appeal and collateral remedies, defendant

may bring any claim of ineffectiveness of counsel.

       3. Waiver of Statute of Limitations

       Defendant hereby waives all defenses based on the applicable statutes of limitation as to

the offense charged in the Bill of Information and all offenses that the United States has agreed

not to prosecute, as long as such offenses are not time-barred on the effective date of this


agreement. Defendant likewise waives any common law, equitable, or constitutional claim ofpre-


indictment delay as to such offenses, as long as such offenses are not time-barred on the effective

date of this agreement. The waivers contained in this paragraph will expire one year after the date

of any of the following: (1) a judicial finding that defendant has breached the plea agreement; (2)

the withdrawal of any plea entered pursuant to this plea agreement; or (3) the vacating of any

conviction resulting from a guilty plea pursuant to this plea agreement.

       4. Waiver of Speedy Trial Rights

       Defendant hereby waives any common law, equitable, or constitutional claim regarding

post-indictment delay as to the offense charged in the Bill of Information. The waiver contained

in this paragraph will expire one year after the date of any of the following: (1) a judicial finding

that defendant has breached the plea agreement; (2) the withdrawal of any plea entered pursuant


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to this plea agreement; or (3) the vacating of any conviction resulting from a guilty plea pursuant

to this plea agreement.


G. EFFECT OF AGREEMENT

        1. Effective Date


       This agreement and the supplement to the plea agreement are not binding on any party until

both are signed by defendant, defendant's counsel, and an attorney for the United States. Once

signed by defendant, his counsel, and an attorney for the United States, the agreement and the

supplement are binding on defendant and the United States.

       2. Effect on Other Agreements

       This agreement incorporates the supplement to the plea agreement which will be filed

under seal with the Court. In this district, the Court requires that a sealed supplement be filed with

every plea agreement regardless of whether defendant is cooperating. The supplement either states

that defendant is not cooperating or provides the terms of defendant's agreement to cooperate. This

plea agreement, along with the aforementioned supplement to the plea agreement, supersedes any

prior agreements, promises, or understandings between the parties, written or oral, including any


proffer agreement.


       3. Effect on Other Authorities


       The agreement does not bind any federal, state, or local prosecuting authority other than

the United States Attorney's Office for the Middle District of Louisiana.

       4. Effect of Rejection by Court


       Pursuant to Fed. R. Crim. P. 11, the Court may accept or reject this plea agreement and the

supplement to the plea agreement. If the Court rejects the plea agreement and the supplement, the

plea agreement and the supplement are no longer binding on the parties and are not binding on the

Court. If the Court rejects the plea agreement and the supplement, defendant will be given the


                               James S. Borland Page 1 1 October 15, 2024
opportunity to withdraw his plea and such withdrawal will not constitute a breach of the agreement.

If defendant does not withdraw his plea following rejection of the plea agreement and the


supplement, the disposition of the case may be less favorable to defendant than contemplated by

the plea agreement.


H. REPRESENTATIONS AND SIGNATURES

       1. By defendant

       I, James S. Burland, have read this plea agreement and have discussed it with my attorney.

I fully understand the agreement and enter into it knowingly, voluntarily, and without reservation.

I have not been threatened, intimidated, pressured, or coerced in any manner. I am not under the


influence of any substance or circumstance that could impede my ability to understand the

agreement and its consequences.


       I affirm that absolutely no promises, agreements, understandings, or conditions have been

made, agreed to, or imposed by the United States in connection with my decision to plead guilty

except those set forth in this agreement and the supplement to the plea agreement.

       I acknowledge that no promises or assurances have been made to me by anyone as to what


my sentence will be. I understand that representations by my attorney (or anyone else) regarding

application of the Sentencing Guidelines and/or my possible sentence are merely estimates and are

not binding on the Court.

       I have read the Bill of Information and discussed it with my attorney. I fully understand

the nature of the charge, including the elements. I understand that I am entitled, under the Fifth

Amendment of the United States Constitution, to have the charge instituted by a Grand Jury

Indictment.




                             James S. Burland Page 12 October 15, 2024
       I have accepted this plea agreement and agreed to plead guilty because I am in fact guilty

of the offense charged in the Bill of Information.

       I am satisfied with the legal services provided by my attorney and have no objection to the

legal representation I have received.




                                                               DATE:\^\^1-?C^\
Jarp^S. Burland
DdS^ndant


       2. By Defense Counsel


       I have read the Bill of Information and this plea agreement and have discussed both with

my client, James S. Burland, who is the defendant in this matter. I am satisfied that my client

understands the agreement and the charge against him, including the elements. I am also satisfied

that he is entering into the agreement knowingly and voluntarily. This agreement, together with

the supplement to the plea agreement, accurately and completely sets forth the entire agreement

between defendant and the United States.




      E^u?^'.^U^r^.,                                           DATE: \O^L^/ZQLL\
 FLane Ewing, Jr. ^
 "ounsel for Defendant




Donald J. Cazayofix^J]
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                                    T^r
                                                               DATE: \0    ^ZOl^
Counsel for Defendant




                              James S. Burland Page 13 October 15, 2024
            3. By the United States


             We accept and agree to this plea agreement on behalf of the United States. This agreement,

     together with the supplement to the plea agreement, accurately and completely sets forth the entire

     agreement between_defendant and the United States.



              4^          OA^                                       DATE: /»/^°/^
     RWld C. G^ie, Jr.
•y^;—United States Attorney
     Middle District ^f Louisiana


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     ^aul L. PugKese
     Assistant United S^t^s Attorney
     Middle District of Louisiana




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